            Case 5:21-cr-50014-TLB Document 134-2                                            Filed 02/11/22 Page 1 of 3 PageID #: 3545
                                DEPARTMENT OF HOMELAND SECURITY
                                              HOMELAND SECURITY INVESTIGATIONS
                                                                REPORT OF INVESTIGATION
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 CASE NUMBER                                                 SYNOPSIS

                                                             In October 2019, Homeland Security Investigations (HSI) Special
 CASE OPENED                                                 Agents and Task Force Officers assigned to the Assistant
 10/29/2019                                                  Special Agent in Charge Office in Fayetteville, Arkansas (ASAC
                                                             FU) Internet Crimes Against Children (ICAC) Task Force received
 CURRENT CASE TITLE                                          lead information from an ICAC Task Force affiliate in reference
 DUGGAR, Joshua                                              to an identified computer in the Northwest Arkansas area
                                                             utilizing an Internet Protocol (IP) address of 167.224.196.113
 REPORT TITLE                                                that was engaged in the sharing of child pornography using file
 Telephonic Interview of Caleb                               sharing programs via the internet. The IP address was later
                                                             determined to be subscribed to Joshua DUGGAR at Wholesale
 Williams
                                                             Motorcars, 14969 Wildcat Creek Road, Springdale, Arkansas. This
                                                             investigation is being initiated pursuant to ongoing efforts by
                                                             HSI ASAC FU ICAC Special Agents and Task Force Officers to
                                                             locate and identify individuals engaged in the trafficking of
                                                             child pornography.




 REPORTED BY
 Gerald Faulkner
 SPECIAL AGENT



 APPROVED BY
 Eric Cardiel
 SPECIAL AGENT

 DATE APPROVED
 11/17/2021
                                                                                                                                                                            2


           Current Case Title                                                   ROI Number                                                   Date Approved
             DUGGAR, Joshua                                                                                                                      11/17/2021
                                               OFFICIAL USE ONLY | LAW ENFORCEMENT SENSITIVE
                                     Joshua Duggar Discovery Provided 11-17-2021_006
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            Case 5:21-cr-50014-TLB Document 134-2                                            Filed 02/11/22 Page 2 of 3 PageID #: 3546
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 DETAILS OF INVESTIGATION

 This report will document the telephonic interview of Caleb Williams.

 On November 16, 2021, pursuant to the ongoing investigation into Joshua DUGGAR, Assistant United
 States Attorneys (AUSA) Carly Marshall and Dustin Roberts along with Department of Justice Trial
 Attorney (DOJ) William Clayman and Homeland Security Investigations (HSI) Special Agent Gerald
 Faulkner conducted a telephonic interview of Caleb Williams. Williams attorney, Peter Wise, was
 also connected to the conference call.

 Williams was asked to provide information regarding his whereabouts in May 2019. Based on
 reviewing the content in his cellular telephone, Williams gave the following timeline of events:

 May 9, 2019

 Williams stated he traveled to the Northwest Arkansas area for a doctor’s appointment. Williams
 believed him and his brother, David, spent the night at the Champion Motorcars lot in a camper
 trailer after having received permission from Jedidiah Duggar.

 May 10, 2019

 Williams retrieved text messages between him and his brother.

 May 11, 2019

 Williams stated he began heading back to his home in Middletown, Illinois but stopped in St.
 Louis, Missouri for a service repair to his personal cellphone. Williams located a Work
 Authorization and Service Confirmation receipt from the Apple Store located at the Galleria in
 St. Louis, Missouri. The receipt was in connection to having his cracked Apple iPhone screen
 repaired in person at the business.

 INVESTIGATORS NOTE: The receipt was emailed to the Government and will be made part of the HSI
 case file.

 Williams located a text message he sent to his grandmother alerting her to the fact he would be
 home (Williams was living with his grandparent at the time in Middletown, Illinois) on Sunday.

 Williams located a picture he took that evening with his cellphone capturing the background of
 his parents’ kitchen. It was noted that his parents reside in Delavan, Illinois.




           Current Case Title                                                   ROI Number                                                   Date Approved
             DUGGAR, Joshua                                                                                                                      11/17/2021
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                                                                REPORT OF INVESTIGATION
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 INVESTIGATORS NOTE: The image was emailed to the Government and will be made part of the HSI
 case file.

 May 12 – May 15, 2019

 Williams stated he was in Middletown, Illinois during this time period. He further advised he
 produced a live streaming video on Facebook on May 13, 2019 from his grandparents’ basement of
 him utilizing an etching machine to produce products for his business.

 May 16, 2019

 Williams explained he departed Middletown, Illinois and traveled to Indiana to attend a wedding.

 Williams was asked if he visited the Wholesale Motorcars lot in May 2019 while he was in the
 area for his doctor’s appointment. Williams stated he did not visit the Wholesale Motorcars
 business or recall seeing DUGGAR while he was in town.

 Williams was questioned if he recalled selling a vehicle from Wholesale Motorcars in March
 2019. He said he purchased a Dodge Dakota in Illinois and then drove it down to Northwest
 Arkansas. DUGGAR had given Williams permission to sell the vehicle on his lot and after the
 sale, he gave DUGGAR one-hundred dollars for allowing him to sell it on the business property.

 Williams was further asked if he remembered emailing DUGGAR multiple United States Postal
 Service shipping labels. He was aware of the labels and explained he was possibly living with
 Jim Bob and Michelle Duggar at the time and did not have a printer so he would email the labels
 to DUGGAR who would then print them out for him.

 When asked about knowledge of DUGGAR’s personally owned electronic devices, Williams stated he
 remembered DUGGAR having Apple products but did not recall him owning an HP desktop computer.

 It was also noted by Williams that he remembered DUGGAR had a very nice surveillance camera
 system installed at the Wholesale Motorcars business lot. Williams explained he has been
 curious with all of the media attention DUGGAR’s case has received why no one has mentioned
 reviewing the surveillance cameras video footage as to who was responsible for the crimes.

 Williams and his attorney were then thanked for their cooperation and the call was ended.

 INVESTIGATION CONTINUES




           Current Case Title                                                   ROI Number                                                   Date Approved
             DUGGAR, Joshua                                                                                                                      11/17/2021
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                                     Joshua Duggar Discovery Provided 11-17-2021_008
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